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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                           UNITED STATES DISTRICT COURT                               October 20, 2020
                            SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                        §
 Plaintiff,                                      §
                                                 §
       v.                                        §         CRIMINAL NO. 2:03-367-2
                                                 §         CRIMINAL NO. 2:10-63-2
JUAN GUTIERREZ,                                  §
 Defendant.                                      §

                          MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant Juan Gutierrez’ Motion for Compassionate

Release Pursuant to Title 18 U.S.C. Section 3582(c)(1)(A), to which the United States of

America (the “Government”) has responded and Defendant has replied. 2:03-CR-367-2, D.E. 43,

44, 47; 2:10-CR-63-2, D.E. 121, 122, 123, 124.

I. BACKGROUND

       In 2004, Defendant was convicted of conspiracy to possess with intent to distribute 197

kilograms of marijuana in Cause No. 2:03-CR-367-2 and sentenced to 51 months’ imprisonment

plus 5 years’ supervised release. He was released from prison in 2007 and began his term of

supervision. In 2010—while he was still on supervision—Defendant was convicted of

conspiracy to possess with intent to distribute 207 kilograms of marijuana in Cause No. 2:10-

CR-63-2 and sentenced to 188 months’ imprisonment. At the same hearing, Defendant’s

supervised release in 2:03-CR-367-2 was revoked, and he was sentenced to an additional three

months’ imprisonment, to be served consecutive to his sentence in Cause No. 2:10-CR-63-2.

       Defendant has served roughly 129 months (68%) of the aggregate 191-month sentence

pronounced in 2010 and has a projected release date, after good time credit, of October 28, 2022.

He now moves the Court to reduce his sentence to time served because his underlying medical



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conditions (hypertension, type 2 diabetes, hypothyroidism, anxiety, panic attacks, and high

cholesterol) make him particularly vulnerable to severe illness or death should he contract

COVID-19 while in prison. Defendant submitted an administrative request for compassionate

release with the Bureau of Prisons, but the warden at FCI La Tuna denied his request on July 23,

2020. Defendant then filed an administrative appeal, which was also denied.

II. LEGAL STANDARD

       The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under limited circumstances:

              (c) Modification of an Imposed Term of Imprisonment.—The
              court may not modify a term of imprisonment once it has been
              imposed except that—
                  (1) in any case—
                      (A) the court, upon motion of the Director of the Bureau of
                      Prisons, or upon motion of the defendant after the
                      defendant has fully exhausted all administrative rights to
                      appeal a failure of the Bureau of Prisons to bring a motion
                      on the defendant’s behalf or the lapse of 30 days from the
                      receipt of such a request by the warden of the defendant’s
                      facility, whichever is earlier, may reduce the term of
                      imprisonment (and may impose a term of probation or
                      supervised release with or without conditions that does not
                      exceed the unserved portion of the original term of
                      imprisonment), after considering the factors set forth in
                      section 3553(a) to the extent that they are applicable, if it
                      finds that—
                          (i) extraordinary and compelling reasons warrant such
                          a reduction . . . and that such a reduction is consistent
                          with applicable policy statements issued by the
                          Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

       The applicable United States Sentencing Commission policy statement provides that

extraordinary and compelling reasons for early release exist where:




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       (A) Medical Condition of the Defendant.—

            (i) The defendant is suffering from a terminal illness (i.e., a serious and
            advanced illness with an end of life trajectory). A specific prognosis of life
            expectancy (i.e., a probability of death within a specific time period) is not
            required. Examples include metastatic solid-tumor cancer, amyotrophic
            lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

            (ii) The defendant is—

              (I) suffering from a serious physical or medical condition,
              (II) suffering from a serious functional or cognitive impairment, or
              (III) experiencing deteriorating physical or mental health because of the
              aging process,

              that substantially diminishes the ability of the defendant to provide self-
              care within the environment of a correctional facility and from which he or
              she is not expected to recover.

       (B) Age of the Defendant. –

            The defendant is (i) at least 65 years old; (ii) is experiencing a serious
            deterioration in physical or mental health because of the aging process; and
            (iii) has served at least 10 years or 75 percent of his or her term of
            imprisonment, whichever is less;

       (C) Family Circumstances. –

           (i) The death or incapacitation of the caregiver of the defendant’s minor
           child or minor children.

           (ii) The incapacitation of the defendant’s spouse or registered partner
           when the defendant would be the only available caregiver for the spouse
           or registered partner.

       (D) Other Reasons. –

            As determined by the Director of the Bureau of Prisons, there exists in the
            defendant’s case an extraordinary or compelling reason other than, or in
            combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13(1)(A), Application Note 1.

       Even if “extraordinary and compelling reasons” for early release exist, the Guidelines’

policy statements provide for a reduction in sentence only if a defendant “is not a danger to the

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safety of any other person or the community, as provided in 18 U.S.C. §3142(g).” U.S.S.G. §

1B1.13(2). Factors relevant to this inquiry include: (1) the nature and circumstances of the

offenses of conviction, including whether the offense is a crime of violence, or involves a minor

victim, a controlled substance, or a firearm, explosive, or destructive device; (2) the weight of

the evidence; (3) the defendant’s history and characteristics; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the defendant’s release. See

18 U.S.C. § 3142(g).

       The Court must also consider whether a reduction is consistent with the applicable

section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The applicable

statutory factors include, among others: the defendant’s history and characteristics; the nature

and circumstances of the offense; the need for the sentence to reflect the seriousness of the

offense, promote respect for the law, and provide just punishment for the offense; the need to

deter criminal conduct and protect the public from further crimes of the defendant; the need to

provide the defendant with, among other things, any needed medical treatment; and the various

kinds of sentences available. See 18 U.S.C. §§ 3553(a)(1)-(7).

       With respect to motions for compassionate release based on COVID-19:

       A review of a motion for release based on COVID-19 is highly fact-intensive and
       dependent on the specific conditions of confinement and medical circumstances
       faced by the defendant. Hence, a prisoner cannot satisfy his burden of proof by
       simply citing to nationwide COVID-19 statistics, asserting generalized statements
       on conditions of confinement within the BOP, or making sweeping allegations
       about a prison’s ability or lack thereof to contain an outbreak. . . . [T]he rampant
       spread of the coronavirus and the conditions of confinement in jail, alone, are not
       sufficient grounds to justify a finding of extraordinary and compelling
       circumstances. Rather, those circumstances are applicable to all inmates who are
       currently imprisoned and hence are not unique to any one person.

United States v. Koons, 2020 WL 1940570, at *4 & n.8 (W.D. La. Apr. 21, 2020) (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)).


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         “In general, the defendant has the burden to show circumstances meeting the test for

compassionate release.” United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25,

2019).

III. ANALYSIS

         Defendant is 47 years old. He has offered evidence that he suffers from type II diabetes

and hypertension, among other things. According to the Centers for Disease Control and

Prevention, people of any age who have type II diabetes are at an increased risk of severe illness

from COVID-19, and people who have hypertension might be at an increased risk. People with

Certain Medical Conditions, CDC (Oct. 6, 2020), https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html. Defendant emphasizes that

the offense of conviction was a drug trafficking offense, and there was no allegation that it

involved violence or weapons. He also claims to have had a clean prison disciplinary record over

eight years. While incarcerated, he has completed over a dozen educational courses, including

the Residential Drug Abuse Program. Finally, Defendant says he will return home and live with

his mother if released.

         The Government acknowledges that Defendant is at increased risk for severe illness from

COVID-19 by virtue of his diabetes and hypertension, but argues that the BOP has undertaken

extensive efforts to mitigate the risks that COVID-19 poses to the inmate population. As of

October 19, 2020, FCI La Tuna has 2 active inmate COVID-19 cases out of 737 total inmates.

The Government further argues that granting compassionate release would endanger the safety of

the community, as Defendant has demonstrated an inability to abide by society’s laws by

trafficking a massive quantity of marijuana in 2004 and committing the same crime in 2009

while on supervised release.



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       While Defendant is at an increased risk of severe illness should he contract COVID-19,

the Court nonetheless finds that the § 3553(a) factors, as considered in the specific context of the

facts of his case, do not warrant a reduction in his sentence. In Case No. 2:10-CR-63-2,

Defendant was found to be an organizer/leader of a criminal activity that involved five or more

participants. He was also sentenced as a career offender due to his prior drug trafficking

conviction in 2:03-CR-367-2 and a separate 2003 conviction in Florida state court for trafficking

in cannabis. Contrary to Defendant’s assertion that he “has a clean disciplinary record of over 8

years,” his prison disciplinary record shows that he was sanctioned for assaulting and causing

serious injury to another inmate in 2013 and for failing to follow safety regulations in 2015.

Releasing Defendant five years early would not reflect the seriousness of the offense, promote

respect for the law, or provide just punishment for the offense, nor would it deter criminal

conduct or protect the public from further crimes.

IV. CONCLUSION

       For the foregoing reasons, Defendant’s Motion for Compassionate Release Pursuant to

Title 18 U.S.C. Section 3582(c)(1)(A) (2:03-CR-367-2, D.E. 43; 2:10-CR-63-2, D.E. 121) is

DENIED.

     It is so ORDERED this 20th day of October, 2020.




                                              ____________________________________
                                                         JOHN D. RAINEY
                                                   SENIOR U.S. DISTRICT JUDGE




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